Case 2:14-cv-04020-DC-LGD Document 285-2 Elec 09/204 Rage loa femat yD
Bahl =. NYIT (14-cv-4020) - NYIT's Anticipated Exhibits - Amended June 9, 2024

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Exhibit Letter Date escription Bates Number
A August 8, 2013 V jEmails between Plaintiff and Bruno NYIT2039
B October 28, 2013 V |Dr. Fazzari note
Cc July 16, 2010 ~ |Class of 2012 - Third Year Clinical Clerkship Manual Bahl Ex. E
Dae October 13, 2010 7 Mary Solanto, PhD - Psychological Consultation of Plaintiff Bahl Ex. H
E January 20, 2014 -/ |Dr. Fazzari note
F July 26, 2010 COMLEX I - Leave of Absence Form NYIT1120
Ga August 9-10, 2010 Emails between Plaintiff and Bruno DOES5-6
H May 5, 2014 Dr. Fazzari note
I May 24, 2011 / \LU Operating Room protocol PHS1
J May 30, 2011 ,__—~|Absence Documentation Form PH79
K June 8, 2011 a Email from Plainview Hospital to Goldstein and Jeger PH9-10
iE ‘ }June 29, 2011 Ne Plainview Hospita) email PH15
M July 1, 2011 ’ ~ INY ITCOM Student Handbook 2011-2012 NYIT794-853
N July 11, 2011  |NYITCOM withdrawal form NYIT1096-97
O July 15, 2011 Adler letter to Bruno NYIT1098
P July 29, 2011 Adler letter to Bruno NYIT1099
Q August 8, 2011 Belkin letter to NYITCOM NYIT1100
R August 9, 2011 Bruno email to students DOE8
S NBMOE exam scores and activity NYIT1075-76
T August 10, 2011 Bruno email to Plaintiff DOEI0

dh wt $2011 Yellin assessment of Plaintiff ___—___——"__ N&ITA0-71
Vv J June 16, 2015 Dr. Fazzari note
W er November 4, 2014 Dr. Fazzari note
xX May 31, 2012 Emails between Plaintiff and Bruno NYIT2282
iy July 1, 2012 NBOME COMLEX-Bulletin of Information NBOME350-387
Z July 31-August 1, 2012 Emails between Plaintiff and Bruno DOE22-23
AA December 3, 2012 Bruno letter to Plaintiff NYIT2105
BB December 6, 2012 COMLEX« II leave of absence form NYIT103-104
CC December 12, 2012 Bruno email to Plaintiff DOE24
DD December 12, 2012 Plaintiff draft email to Bruno DOE25
EE January 2, 2012 Bruno letter to Plaintiff NYIT135-36

kf March 15-12 2013 “mails between Plait Srriehetti DOE33-34

GG ¥ December 22, 2015 Dr. Fazzari note

etd Maay 2. 2013 Plaintiff-emaitto-Erriehettt——_——— DOE35
I May 14 - 17, 2013 Emails between Plaintiff, Yellin and Erichetti DOE36-40
JJ May 22-30, 2013 Emails between Plaintiff and Yellin and Plaintiff and Bruno DOE98-100
KK Received May 28, 2013 NBOME COMLEX II CE accommodation request form NBOME73-76

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ee June 5, 2013 Email from Molesphini to Plaintiff and Plaintiff letter NYIT1082-83

MM June 13, 2013 Student Progress Committee hearing NYIT1056

NN June 14, 2013 Dean Gilliar Letter to Plaintiff NYIT92

OO Received June 28, 2013 COMLEX II PE - NBOME accommodation request form NBOME111-114

PP July 12, 2013 Letter from NBOME to Plaintiff NYIT37-38

QQ July 15, 2013 Emails between Plaintiff and Bruno NYIT2064-65

RR July 24-25, 2013 Emails between Bruno and Errichetti NYIT2216-17

SS August 12, 2013 Errichetti email to Bruno and Jeger NYIT1980

ie August 19, 2013 AdlenJletier NYIT1173-75

UU August 23, 2013 Emails between NBOME and Plaintiff NYIT1260-62

VV August 28, 2013 Karlin letter to ODS NYIT1171-72
Plaintiff's Application for Special Services/ Self-Identification Form to NYIT's

Ww August 30, 2013 Office of Disability Services NYIT1326-33

exe August 30,2013 Plaintiff email to Provenzano a eee rene -72

NOY. September 3, 2013 Letter from NBOME to Plaintiff NYIT39

# tS eptember3,2013 Email ram TO ROss-Lee NAEEF203 5

AAA September 4, 2013 Email from Provenzano to Bruno NYIT2364

BBB September 5, 2013 Emails between Provenzano and Plaintiff NYIT1263-64

\SCC_2-—__—_—]Seprember 6, 2075 Emai ito Portanova —— NEA 43 82440)

T= September 19 - 20, 2013 Emails be intit’ ini rer ~~ AAVETI228-1229

IEEE. | September 24, 2013. Goren fetter ta ODS NYTTTIOA 4

FFF “7 October 7, 2013 Bruno email to Dean Gilliar with chronology NYIT2204-5

GGG October 12, 2013 Achtziger email to Bachmann NYIT1079

HHH October 21, 2013 Thompson letter to Goren NYIT162-164

Il November 20, 2013 Salvesen email to Bruno NYIT2191-92

JJJ January 29, 2014 Goren letter to Thompson NYIT19

KKK January 31, 2014 Thompson letter to Goren NYIT17-18

PEE x February 20, 2014 Thompson email to Mulhearn NYIT182

MMM April 17, 2014 NYIT Response to OCR NYIT11-15

NNN June 24, 2014 Salvesen email to Bruno NYIT1958-59

OOGO July 14, 2014 OCR dismissal NYIT2106-7

ERP xX December 9, 2014 Plaintiff's Responses to LIJ's Interrogatories

QQQ Removed per Court order

RRR Removed per Court order

SSS ~ January 29, 2012 Dr. Shapiro records - Current Symptoms Scale

ieee April 10, 2013 Dr. Shapiro records

UUU VW April 25, 2013 Dr. Shapiro records

VVV January 17, 2012 Dr. Fazzari note

WWW January 24, 2012 Dr. Fazzari note

XXX 3 May 3, 2012 Dr. Fazzari note

YoXuY Ss January 30, 2012 Questionnaire completed by Plaintiff

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HHHH June 10, 2014 Dr. Fazzari note
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AAAAAA August 5, 2013 Dr. Fazzari note
BBBBBB August 6, 2012 Dr. Fazzari note
CCCCCC Plaintiff COMLEX CE AND PE applications for testing accommodations NYIT30-36

